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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                        RESPONDENT


v.                              Criminal No. 4:11-cr-40037-006



MARCUS SIMS                                                                          MOVANT



                                            ORDER

       BEFORE the Court is the Motion to Supplement (ECF No. 1340) filed herein by Movant.

The Motion to Supplement (ECF No. 1340) is GRANTED. The Court will consider the Motion to

Supplement as a supplement to the Motion to Vacate in this matter. The Respondent may file any

supplemental response it deems necessary to this supplement no later than October 14, 2014.

       IT IS FURTHER ORDERED, the Movant file no further requests to amend or supplement

his Motion in this matter. The Court has granted a motion to amend and now a motion to

supplement. No further amendments or supplements will be allowed. The Clerk is directed to return

to Movant any future Motion to Amend or Supplement submitted.

       ENTERED this 12th day of September 2014.


                                                      /s/ Barry A. Bryant
                                                     HON. BARRY A. BRYANT
                                                     UNITED STATES MAGISTRATE JUDGE
